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== BENCHMARK
=>

April 1, 2021

Kenneth Wayne Jones
County Administrator
Hinds County

Post Office Box 686
Jackson, MS 39205-0686

Re: Benchmark Invoice #24

Dear Mr. Jones:

Please find enclosed our invoice for March. | have attached timesheets as well as a breakdown by facility
for your reference. Please process for payment.

If you have any questions please let me know.

Sincerely,

David Marsh,
President

DEFENDANT'S
EXHIBIT

1867 Crane Ridge Dr. Suile 200-A, Jackson, MS 39216 + P.O. Box 31177 Jackson, MS 39286-1177

Phone 601-362-6110 * Fax 601-362-9812 « www.benchmarkms.com Paeeal an ax

D-000067
Case 3:16-cv-00489-CWR-BWR Document 179-4

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“Hl CORPORATION

1867 Crane Ridge Dr., Suite 200-A
P.O, Box 31177 Jackson, MS 39286-1777
Phone (601) 362-6110

Filed 03/01/22 Page 2 of 42

INVOICE

NO.

0470172021
DATE:

IA
YOUR ORDER NO, N

Fax (601) 362-9812
SOLD TO: . LOCATION:
Hinds County Raymond Detention Center
Work Center/Jackson D C
Henley - Young
OUR JOB NO.: CONTRAGS OAT E: AUS HQRIZED BY:
DESCRIPTION AMOUNT
INVOICE FOR MARCH 2021
David Marsh $ 1,898.00
Gary Chamblee $11,461.00
Willie Edmond $11,088.00
Timesheets Attached
TOTAL AMOUNT THIS INVOICE $24,447.00

e PLEASE PAY FROM INVOICE e NO STATEMENT RENDERED e

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HINDS DETENTION FACILITIES
TIME SHEET RECAP

3/31/2022
4/1/2021 DESCRIPTION HOUAS AMOUNT TOTAL

RAYMOND DETENTION CENTER

Gary Chamblee 138 $73 $ 10,074.00

Willle Edmond 193 $56 $ 11,088.00
336.00 $ 21,162.00

HENLEY YOUNG

Wille Ednrond 0 $56 $ .

Gary Chanrblea 1$ $73 $ 1,095.00
15 $ 1,095.00

WORK CENTER

Willle Edatond 0 $56 $ -

Gary Chamblee 4 $73 $ 292.00
4 $ 292.00

JACKSON DETENTION CENTER

Gary Chamblee 0 $73 §

Willie Edmond 0 $56 $ :
0 $ 7

MEETINGS

Qavid Marsh 26 $73 $ 1,898.00
26 $ 1,898.00

TOTAL AMOUNT GUE $ 24,447.00

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TAD 42-67
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DAY TD JEIN-7Z
IGY IW 4eW-Ez
WSOdOd DAY 4eN-7z
JIU WSOdOUd ICY /SUIGUO AYOM ALNMOD SGNIH 4eW-6T
YELNID NYOM/ICY/SHITUO AYOM OD SGNIH 42W-8T
SIVSOdOUd /SYICUO NYOM ALNNOD SGNIH 4eW-ZT
SIVSOdOUd/SUSAYO YYOM ALNNOD SQNIH J2IN-9T
SIWSOdOUd /SHICUO YYOM ALNNOD SANIH 42IA-ST
YOUV9/IIV/SIWSOdOUd TW9/T¥SOdOYd DOU JRIN-ZT
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TWD/D04 JeIN-8
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Meeting
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Meeting

DATE

5-Mar
8-Mar
9-Mar
14-Mar
19-Mar
22-Mar
25-Mar
26-Mar

Meeting with Leroy Lee, Gary
Meeting/Revlew projects
Meating/Review projects
Meating with Leroy Lee, Gary
Meeting with Leroy Lee, Gary
Meeting/Review projects
Meeting with Leroy Lee, Gary
Meeting/Review projects

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HINDS DETENTION FACILITIES
TIME SHEET DAVID MARSH

Mar-21
DESCRIPTION HOURS

4,00
7.00
3.00
2.00
3.00
2.00
3.00
2.00
26.00

26 TOTAL MEETING HOURS x$73= $ 1,898.00

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30-Mar
31-Mar

HINDS DETENTION FACILITIES
TIME SHEET WILLIE EDMOND
3/31/2024
DESCRIPTION HOURS

ON SITE. WORK ORDER REVIEW. 9.00
ON SITE. WORK GROER REVIEW. 9.00
ON SITE. WORK ORDER REVIEW. 9.00
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ON SITE. WORK ORDER REVIEW. 9.00
TOTAL RDC HOURS 198,00

198 TOTAL HOURS x$56= $ 11,088.00

$ 11,088.00

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Case 3:16-cv-00489-CWR-BWR Document 179-4 Filed 03/01/22 Page 7 of 42

[3c BENCHMARK
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Monday, Mar 01, 2021

& CORPORATION
Daily Report
Raymond Detention Center
1450 County Farm Rd
Raymond, MS 39154
Time Temp Hum = W-Dir W-Speed
01:57 AM 70°F 100% SSW 9MPH
05:57 AM 61°F 100% N 4MPH
10:07 AM 59 °F 100% N 3 MPH
01:57 PM 55°F 100% N 8 MPH
05:52 PM 52°F 100% N 4MPH
09:53 PM 50°F 100% N 7 MPH
LAnOI
Name CostCode Trade Class
CML Security
Total:

01:51PM Wille Edmond
(Lat/Long: 32.247068,-90,399991]

B-Pod Missing Lights

i era el bi
bs Ea |

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etude san

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alata hlsicmattahtl ps

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Benchmark Construction | Raymond Detention Center | Monday, Mar 01, 2021 | Page 1 of 2

W-Gust Precip Condition
16 MPH OIN Cloudy
16 MPH 0.041N Rain

9 MPH 0.07 IN Light rain

9MPH OIN Cloudy

7 MPH OIN Cloudy

8 MPH OIN Cloudy

Worker(s) Hours Description

4 9.00 Workonphase 2,3 work in B-Pod

4 9.00

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fe) Fe] Wanless ace mie [ny em Cala

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Case 3:16-cv-00489-CWR-BWR Document 179-4 Filed 03/01/22 Page 8 of 42

02:17 PM Wille Edmond
(Lat/Long: 32.247050,-90,400026])

After noticing a unseen Subcontractor on site, | followed them and asked what where their purpose of being here,they said that they were
here to fix a leak on the chemical line (pvc pipe)

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CORPORATION

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Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Tuesday, Mar 02, 2021

Time Temp Hum  W-Dir W-Speed W-Gust Precip Condition

01:49 AM 45 °F 100% N 4 MPH 7 MPH 0.04 IN Rain

05:57 AM 43°F 100% N 6 MPH 11 MPH 0.23 IN Light rain

10:08 AM 45°F 100% N OMPH 8 MPH 0,06 IN Cloudy

02:09 PM 45°F 100% N 7 MPH 9 MPH 0,04 IN Cloudy

05:57 PM 43°F 100% N 3 MPH 12 MPH 0.03 IN Mostly cloudy

09:59 PM 39 °F 100% N OMPH 4MPH ON Clear

Name CostCode Trade Class Worker(s) Hours Description

CML Security 9.00 Workon phase 2,3 work in B-Pod
Total: 9,00
Powered By NoteVault Benchmark Construction | Raymond Detention Center | Tuesday, Mar 02, 2021 | Page 1 of 1

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Case 3:16-cv-00489-CWR-BWR Document 179-4 Filed 03/01/22 Page 10 of 42

=> BENCHMARK
IS SORPORATION

Daily Report Wednesday, Mar 03, 2021

Henley-Young Juvenile Justice

940 E McDowell Rd

Jackson, MS 39204

Time Temp Hum = W-Dir W-Speed W-Gust Precip Condition
01:58 AM 37 °F 88% NNW 4 MPH 6MPH OIN Cloudy
06:08 AM 35 °F 88% N OMPH 1 MPH OIN Drizzle
10:08 AM 50°F 58% N 7 MPH 7 MPH OIN Sunny
02:08 PM 60°F 36% N 3 MPH 6&MPH OIN Sunny
05:57 PM 62°F 32% N 3 MPH 3 MPH OIN Sunny
09:57 PM 51°F 54% NNW 3 MPH 3 MPH OIN Clear

07:52 AM Wille Edmond
[Lat/Long: 32.323224,-90.872472]

A smell of Gas was notice and the gas company was call out and they found a leak at one of the roof tap unit. Benchmark was ask to get a
estimate..JL Roberts came and gave an estimate and we pass it on to Hinds County (Leroy Lee

From: Eddio Burnsida

<ebumside @co hinds.ns.us>

Sont: Tuesday, March 2, 2021 9:63 AM

To: Willia Wiliams <wwillams co, hinds ms.us>
Ce: Leroy Loe <iloo@ cohinds.ms.us>

Subject: Rooftop unit

Good morning All,

Early this morning the omployees complained
about the smell of nalural gas. limmedlately
called Almos Enorgy. Almos Energy came to the
facility and did a walk-through and checked the
rooftop HVAC unils. Thay discovarad thal tho
rooftop unit located near the lobby area had
leaking regulator. Thoy gas was turned all on
that unit.

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Employee Signature:

Powered By NoteVault Benchmark Construction | Henley-Young Juvenile Justice | Wednesday, Mar 03, 2021 [Page 2 of 2

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Gs BENCHMARK

CONSTRUCTION
CORPORATION

Daily Report Wednesday, Mar 03, 2021.

Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum  W-Dir W-Speed W-Gust Precip Condition

01:58 AM 36 °F 100% N OMPH 5 MPH OIN Mostly clear
06:08 AM 34°F 100% N OMPH 1MPH OIN Fog

10;08 AM 48°F 100% NNW 6MPH 6MPH OIN Sunny

02:08 PM 59°F 44% N 8 MPH 14 MPH OIN Sunny

05:57 PM 59°F 41% N 4MPH 4MPH OIN Sunny

09:57 PM 41°F 100% N OMPH 1MPH OIN Clear

NCI |

Name CostCode Trace Class Worker(s) Hours Description
CML Security 6 9.00 Work on phase 2,3 work in B-Pod
Total: 6 9,00

08:12 AM Wille Edmond

[Lat/Long: 32.323299,-90.872543]
Gary and | me with CML(Joe) and Hinds County IT Tech (Warren Finch) on cameras,UPS systems and out dated computers not working

11:27 PM Wille Edmond
(Lat/Long: 32.923246,-90.872502]

JL Roberts repaired damaged steamer pipes in kitchen,and tried to start up the steamer boiler but wasn't successful.randon Boller has been scheduled to come aut Thursday morning

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Video Files:
® 7AC7D7D6-5B2C-4910-85CF- 3E813

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Daily Report Thursday, Mar 04, 2021

Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum  W-Dir W-Speed W-Gust Precip Condition

01:57 AM 36°F 100% N OMPH OMPH OIN Clear

06:08 AM 32°F 100% N OMPH OMPH OIN Clear

10:08 AM 57 °F 62% N OMPH OMPH OIN Sunny

02:05 PM 70°F 28% S 4MPH 4MPH OIN Sunny

05:58 PM 70°F 26% N OMPH 4 MPH OIN Sunny

09:58 PM 45 °F 100% N OMPH 41MPH OIN Clear

Name CostCode Trade Class Worker(s) Hours Description

CML Security 6 9.00 Work on phase 2,3 work in B-Pod
Total: 6 9.00

12:00 PM Wille Edmond
[Lat/Long: 32,247 109,-90,400051]

Brandon Boiler came out to try and start up the steam boiler that supply the kitchen,but was not successful. They said that the unit is old (1989
model) and multiple corroded parts that prevent the unit to run..an estimate for replacing parts and one for a new unit is in progress

Powered By NoteVault Benchmark Construction | Raymond Detention Center | Thursday, Mar 04, 2021 | Page 1 of 1

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CORPORATION
Daily Report Monday, Mar 08, 2024

Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum = W-Dir W-Speed W-Gust Precip Condition

01:57 AM 36°F 100% N OMPH 4MPH OIN Mostly clear

06:07 AM 32°F 99% N OMPH 1MPH OIN Clear

10:08 AM 63 °F 29% SE 8 MPH 8 MPH OIN Sunny

02:03 PM 72°F 18% s 9 MPH 9 MPH OIN Sunny

05:56 PM 70°F 19% SSE 6MPH 6MPH OIN Sunny

09;57 PM 43°F 100% ESE 3 MPH 4MPH OIN Mostly clear

Name CostCode Trace Class Worker(s) Hours Description

CML Security 6 9,00 Work on phase 2,3 work in B-Pod

. Look at missing lights and

Shivers Electric - 2.00 damaged wires in B-Pod area
Total: 8 11.00
Powered By NoteVault Benchmark Construction | Raymond Detentlon Center | Monday, Mar 08, 2021 | Page 1 of 1

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CORPORATION

Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum W-Dir
01:57 AM 37°F 100% N
06:05 AM 36 °F 100% N
10;08 AM 63°F 51% S
02:04 PM 72°F 40% SSE
05:57 PM 72°F 46% SSW
09:57 PM 63°F 77% ~~ SSE
Name CostCode Trade

Shivers Electric

Total:

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W-Speed
OMPH
OMPH
14MPH

9 MPH
14MPH
11MPH

Class

W-Gust
5 MPH
1 MPH

14 MPH

18 MPH

14 MPH

11 MPH

Tuesday, Mar 09, 2021

Precip Condition
OIN Clear
OIN Clear
OIN Mostly sunny
OIN Sunny
OIN Mostly sunny
OIN Mostly cloudy

Worker(s) Hours Description

Look at missing lights and

2 2.00 damaged wires in B-Pod area

2 2.00

Benchmark Construction | Raymond Detention Center | Tuesday, Mar 09, 2021 | Page 1 of 1

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CORPORATION

Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum = W-Dir
01:56 AM 57°F 100% SSE
06:05 AM 55 °F 100% SE
10:07 AM 68 °F 88% SSE
02:08 PM 77°F 53% s
05:57 PM 73°F 60% SSE
09:57 PM 66°F 77% SSE
Name CostCode Trade

Shivers Electric

Total:

09:11 PM Wille Edmond
(Lat/Long: 32.323273,-90,872557)

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Wednesday, Mar 10, 2021

W-Speed W-Gust Precip Condition

8 MPH 18 MPH OIN Cloudy
4MPH 7 MPH OIN Mostly cloudy
17 MPH 24 MPH OIN Sunny
419 MPH 26 MPH OIN Mostly cloudy
41MPH 21 MPH OIN Partly sunny
17 MPH 17 MPH OIN Cloudy
Class Worker(s) Hours Description
2 2.00 a mex now working In A-1
2 2.00

Came out and look at why lights in A-1 not working and breakers keep tripping out..They seem to think that something is wrong in the ceiling. In order to
access the ceiling,the facility will need to move inmates to another unit so we can get alift in the area to troubleshoot

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Benchmark Constructlon | Raymond Detention Center | Wednesday, Mar 10, 2021 | Page 1 0f 3

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Case 3:16-cv-00489-CWR-BWR Document 179-4 Filed 03/01/22 Page 18 of 42

09:31 PM Wille Edmond
(Lat/Long: 32.323244,-90,872553]

JL Roberts came out and look at the mini spit unit not working in the server room..we find for once, the condensing unit is installed inside a
small area above celling Inside the building..they said that the fan motor wasn't working..they were ask to submit a estimate for labor anda
new fan motor

09:37 PM Wille Edmond
(Lat/Long: 32.323125,-90.872757]
Meeting with Gary and Michael Chamblee,Warren Finch and Steve Winter on studying the entire cameras system

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Case 3:16-cv-00489-CWR-BWR Document 179-4 Filed 03/01/22 Page 19 of 42

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chin ark Construction | Raymond Detentlon Center | Wednesday, Mar 40, 2021 | Page 3of3

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Case 3:16-cv-00489-CWR-BWR

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Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum = W-Dir
01:57 AM 63 °F 100% SSE
06:08 AM 61°F 100% SSE
10:05 AM 72°F 93% SSE
02:06 PM 79°F 53% s
05:57 PM 75°F 53% S
09:58 PM 68 °F 88% SSE

02:56 PM Wille Edmond
(Lat/Long: 32.245823,-90.400459)

Johnson Controls working on new chiller

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W-Speed
9 MPH
6MPH
9MPH

10 MPH
9MPH
7 MPH

Benchmark Construction | Raymond Detention Center | Thursday, Mar 11, 2024 | Page Lof 1

W-Gust
16 MPH

6MPH
18 MPH
12 MPH

9MPH
12 MPH

Precip Condition
OIN Cloudy
OIN Cloudy
OIN Partly sunny
OIN Mostly cloudy
OIN Mostly cloudy
OIN Cloudy

Thursday, Mar 14, 20214

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CORPORATION

Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum  W-Dir
01:57 AM 72°F 100% SSW
05:57 AM 68 °F 100% S
10:08 AM 73°F 100% WwW
02:08 PM 81°F 88% N
05:57 PM 68 °F 100% NNE
09:57 PM 66°F 100% E
Name CostCode Trade
CML Security

Shivers Electric

Total:

07:01 AM Wille Edmond
(Lat/Long: 32.323226,-90.872508])

W-Speed
6MPH
6MPH
8 MPH
6 MPH
3 MPH
7 MPH

Class

W-Gust
7 MPH
6MPH
8 MPH
6MPH
4 MPH
8 MPH

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Tuesday, Mar 16, 2021

Precip Condition
OIN Cloudy
OIN Mostly cloudy
OIN Cloudy
OIN Mostly cloudy
0.16 IN Rain
0.04 1N Cloudy

Worker(s) Hours Description

Work on phase 2 ,3 work in B-Pod
came out to work on the lighing
problems in A-1 but it was
raining,the facility has no other
place but rec yard to put inmates
for security purpose,.rain is
forecasted thru wednesclay, so we
resheldule for thursday

1 9.00

2 1.00

3 10,00

Johnson Control were called out because of the hot temperatures throughout the building..they got the York Chiller back working but
stated that cooling tower #2 has a bad breaker and that Hinds Co. Mantenance is aware of this.

After Johnson Control finished with work, | asked if he would give us (me) and Willie Williams (HCM) a Owner's Training on the York

Chiller

07:45 AM Wille Edmond
[Lat/Long: 32.323320,-90.872528]

Meet with Sherwin Williams (Jeremy) Capt Steve Winter (RDC) on colors for B-pod

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06:31 PM Wille Edmond
(Lat/Long: 32,323074,-90,872301)
Path sent Mechanical Systems Insulation (MSI) out to insulate pipes where they change pneumatic valves to electric valves at (8) locations

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Case 3:16-cv-00489-CWR-BWR Document 179-4 Filed 03/01/22 Page 23 of 42

06:43 PM Wille Edmond
{Lat/Long: 32.323147,-90.872291]

Meet with Chris Jones(JL Roberts) and Terry Services to look at changing pneumatic valves to electric valves at AHU's (5) in B-Pod

Povrered By NoteVault Benchmark Construction | Raymond Oetention Center | Tuesday, Mar 16, 2024 | Page 3 of 3

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eé CONSTRUCTION

CORPORATION

Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum = W-Dir
01:58 AM 70°F 100% SE
06:06 AM 70°F 100% $
10;08 AM 75 °F 100% S
02:04 PM 81°F 100% SSW
05:58 PM 66°F 100% WwW
09:57 PM 68°F 100% SW
Name CostCode Trade
CML Security

JL Roberts Plumber

Total:

Powered By NoteVaull

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Wednesday, Mar 17, 20214
W-Speed W-Gust Precip Condition
3MPH 10 MPH OIN Cloudy
11 MPH 11 MPH OIN Cloudy
12 MPH 25 MPH OIN Cloudy
16 MPH 24 MPH OIN Cloudy

17 MPH 38 MPH 0.12 IN Thunderstorm
10 MPH 14 MPH 0.31IN Cloudy

Class Wor ker({s) Hours Description
1 9,00 Workon phase 2,3 work in B-Pod
9 4.00 Repaired steam boiler for kitchen

area
3 13,00

Benchmark Construction | Raymond Detention Center | Wednesday, Mar 17,2021 | Page 1of 1

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CONSTRUCTION

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2¢ BENCHMARK

Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum = W-Dir
01:58 AM 63°F 100% Ww
06:08 AM 52°F 100% WwW
10:08 AM 50°F 100% WwW
02;08 PM 55 °F 66% WwW
05:57 PM 55°F 71% WNW
09:57 PM 54°F 76% NNW
Name CostCode Trade
CML Security

Shivers Electric

Total:

08:58 PM Wille Edmond
[Lat/Long:32,323208,-90,872498)

W-Speed
11 MPH
12 MPH
19 MPH
21 MPH
11 MPH
11MPH

Class

W-Gust
19 MPH
18 MPH
29 MPH
29 MPH
21MPH
17 MPH

Thursday, Mar 18, 2021

Precip Condition
OIN Mostly clear
OIN Cloudy
OIN Cloudy
OIN Cloudy
OIN Cloudy
OIN Cloudy

Worker(s) Hours Description

4

5

8.00 Work on phase 2,3 work in B-Podl
Repaired dayroom lights and trip
breakers on exposed electrical
wires hanging out of damage ligh
fixure in cells in A-1

9.00

Shivers Electric repaired day room lights and tripped breakers on damaged cells light with live wires hanging out of them

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CORPORATION

Daily Report
Henley-Young Juvenile Justice

940 E McDowell Rd
Jackson, MS 39204

Time Temp Hum  W-Dir
01:58 AM 63°F 57% ESE
06:05 AM 62°F 69% SE
09:56 AM 60°F 89% SE
01:57 PM 64°F 89% S
05:57 PM 65°F 89% SE
09:58 PM 62°F 96% SSE

09:38 AM Wille Edmond
(Lat/Long: 32,246635,-90,400132]

Horne Fencing dug holes for fence poles

Document 179-4

W-Speed
11MPH
14 MPH
16MPH

8 MPH
4 MPH
6MPH

W-Gust
12 MPH
14 MPH
23 MPH
12 MPH

8 MPH
12 MPH

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Tuesday, Mar 23, 2021

Precip Condition
OIN Cloudy
ON Cloudy

0.35 IN Rain

0,02 IN Mostly cloudy
OIN Cloudy
OIN Cloudy

Employee Signature:

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Benchmark Construction | Henley-Young Juvenile Justice | Tuesday, Mar 23, 2021 | Page 1of 4

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<¢ CONSTRUCTION

CORPORATION

[3¢ BENCHMARK
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Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

Time Temp Hum W-Dir
01:58 AM 63°F 67% SSE
06:05 AM 63°F 87% SE
09:56 AM 59°F 100% SE
02:08 PM 66°F 100% S
05:57 PM 66°F 100% SSE
09:58 PM 63°F 100% S
Name CostCode Trade
CML Security

Total:

09:41AM Wille Edmond
[Lat/Long: 32.246667,-90,400097)

JL Roberts did a plumbing PunchList in B-Pod

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W-Speed
8 MPH
41 MPH
9 MPH

8 MPH

6 MPH

7 MPH

Class

W-Gust
15 MPH
13 MPH
10 MPH

8 MPH
41 MPH
16 MPH

Tuesday, Mar 23, 2021

Precip Condition
OJN Cloudy
OIN Cloudy

0.28 IN Rain

0.01 IN Sunny
OIN Cloudy

0,05 IN Cloudy

Worker(s) Hours Description

5 8.00 Work on phase 2,3 work in B-Pod
5 8,00

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09:50 PM Wille Edmond
[Lat/Long: 32.323326,-90,872333]

Sherwin Williams delivered paint,sprayer,rollers, and brushes for B-Pod

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CORPORATION
Daily Report
Raymond Detention Center

1450 County Farm Rd

Raymond, MS 39154

Time Temp Hum  W-Dir
01:53 AM 41°F 100% N
06:05 AM 39 °F 100% N
10:06 AM 57 °F 41% E
02:08 PM 68 °F 28% N
05:57 PM 72°F 30% N
09:57 PM 50 °F 100% ESE
Name CostCode Trade
CML Security

Total:

07:06 PM Wille Edmond
(Lat/Long: 32.323288,-90.872558)

W-Speed W-Gust
OMPH 3MPH
OMPH 4MPH
8 MPH 16 MPH
7 MPH 7 MPH
6MPH 6MPH
3MPH 4MPH
Class

Monday, Mar 29, 2021

Precip Condition
OIN Clear
OIN Clear
OIN Sunny
OIN Sunny
OIN Cloudy
OIN Clear

Worker(s) Hours Description
5
5

8.00 Cleaned B-Pod
8,00

Gary and | Meet with Steve Winter (Hind Co.) Durwin,Bob,Daniel and Joe all w/ CML on doors and locks not properly working

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Joe spelen ielele elele] |:

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CORPORATION

Daily Report

Henley-Young Juvenile Justice

940 E McDowell Rd
Jackson, MS 39204

Time

01:53AM
06:05 AM
10:06 AM
02:08 PM
05:57 PM
09:57 PM

Temp
51°F
43°F
57°F
67°F
72°F
60°F

06:46 PM Wille Edmond
(Lat/Long: 32,.323259,-90,.872560)

Horne Fence Installing security fence

Employee Signature:

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W-Speed
4MPH

3 MPH
10 MPH
7 MPH
6MPH
OMPH

Benchmark Construction | Henley-Young Juvenile Justice | Monday, Mar 29, 2021 | Page 1 of 1

W-Gust
5 MPH
4MPH

10 MPH
7 MPH
6 MPH
6MPH

Monday, Mar 29, 2021

Precip Condition
OIN Clear
OIN Clear
OIN Sunny
OIN Sunny
OIN Cloudy
OIN Clear

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Case 3:16-cv-00489-CWR-BWR

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CORPORATION

Daily Report
Jackson Detention Center

407 East Pascagoula St
Jackson, Ms 39205

Time Temp Hum  W-Dir
01:53 AM 51°F 51% N
06:05 AM 43°F 76% SE
10:06 AM 57 °F 36% E
02:08 PM 67°F 28% §
05:57 PM 72°F 23% N
09:57 PM 60°F 43% N

06:52 PM Wille Edmond
[Lat/Long: 32,323323,-90,872588)

JL Roberts made out a PunchList on the 3rd and 4th floor

Employee Signature:

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Document 179-4

W-Speed
4MPH
3MPH

10 MPH
7 MPH
6MPH
OMPH

W-Gust
5 MPH
4MPH

10 MPH
7 MPH
6MPH
6&MPH

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Monday, Mar 29, 2021

Precip Con¢lition
OIN Clear
OIN Clear
OIN Sunny
OIN Sunny
OIN Cloudy
OIN Clear

Benchmark Construction | Jackson Detention Center | Monday, Mar 29, 2021] Page 1 of 1

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Daily Report
Henley-Young Juvenile Justice

940 E McDowell Rd
Jackson, MS 39204

Time Temp Hum W-DIr
01:57 AM 53°F 73% ESE
06:08 AM 49°F 83% ESE
10:08 AM 66°F 72% SSE
02:05 PM 77°F 61% 5
05:57 PM 72°F 87% $
09:57 PM 70°F 93% SE
Name CostCode Trade
Horne Fence

Total:

09:12 PM Wille Edmond
[Lat/Long: 32.323253,-90,872514)
Installed security fence

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W-Speed
3 MPH
3MPH
8 MPH

15 MPH
6 MPH
7 MPH

Class

W-Gust
6MPH
4MPH
9 MPH

22 MPH

10 MPH
8 MPH

Tuesday, Mar 30, 2021

Precip Condition
OIN Clear
OIN Clear
OIN Mostly cloudy
OIN Cloudy

0,1 1N Cloudy

0.3 IN Cloudy

Worker(s) Hours Description
8.00 Install fence posts
8.00

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Employee Signature:

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Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

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Time Temp Hum = W-Dir W-Speed
01:57 AM 48°F 99% ESE 3 MPH
06:08 AM 48 °F 400% E 4 MPH
10;08 AM 68 °F 100% SSE 7 MPH
02:05 PM 77°F 100% S 12 MPH
05:57 PM 72°F 100% S 9 MPH
09:57 PM 70°F 100% SE 4 MPH
PATO AERODROME © ODE Ete] [ean

Name CostCode Trade Class
CML Security
Total:

12:39 PM Wille Edmond
(Lat/Long: 32.247134,-90.400388)

Mantenance Operational Personal Training

“Attendees *
Willie Edmond (BCC

Willie Williams (HCM

George Nelson (HCM

Sgt Steve Winter(RDC

Joe(CML

Video Files:
e 2B4C04F2-CA6D-4990-83C5-3C2603421AE7,.mp4
° B32-3A2D-4DE8-AB5F- 064734.mp4
© 99528 - -43D2-AE82-

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Benchmark Construction | Raymond Detention Center | Tuesday, Mar 30, 2021 | Page 1of 1

W-Gust
6MPH
4MPH

17 MPH

14 MPH

17 MPH
6&MPH

Tuesday, Mar 30, 2021

Precip Condition
OIN Clear
OIN Clear
OIN Mostly cloudy
OIN Cloudy
OIN Cloudy
0.13 IN Cloudy

Worker(s) Hours Description

Cleaned B-Pod and hosted
8,00 Mantenance Operational
Personal Training

8.00

D-000103
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Cc CONSTRUCTION
CORPORATION

2¢ BENCHMARK
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Daily Report
Raymond Detention Center

1450 County Farm Rd
Raymond, MS 39154

pet

Time Temp Hum  W-DIr
01:57 AM 72°F 100% §
06:06 AM 70°F 100% 5
10:08 AM 63°F 100% N
02:05 PM 57°F 100% NNW
05:57 PM 61°F 47% NW
09:57 PM 50 °F 53% N

02:15PM Wille Edmond
(Lat/Long: 32.246982,-90.399983)

CML Owner Training on Pod-B and Central Control

*Attendees*

Willie Edmond
George Nelson(HC)
Erica Scolt(ROC
Lester(RDC

Joe Borden(CML

W-Speed W-Gust
6MPH 10 MPH
4MPH 11MPH
9MPH 10 MPH

410 MPH 19MPH
11 MPH 18 MPH
4 MPH 8 MPH

Wednesday, Mar 31, 2021

Precip Condition
OIN Cloudy
OIN Cloudy
0.12 IN Thunderstorm
0.41 1N Cloudy
OIN Mostly sunny
OIN Mostly clear

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[2¢ BENCHMARK

Daily Report
Henley-Young Juvenile Justice

940 E McDowell Rd
Jackson, MS 39204

Time Temp Hum W-Dir
01:57 AM 71°F 89% SSW
06:06 AM 71°F 89% s
10;08 AM 63°F 93% NW
02:05 PM 57°F 80% N
05:57 PM 61°F 39% N
09:57 PM 52°F 52% NNW

02:06 PM Wille Edmond
(Lat/Long: 32.246958,-90,399918]

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W-Speed
9 MPH

7 MPH
6MPH

9 MPH
11MPH
&MPH

W-Gust
11MPH

9MPH
10 MPH
49 MPH
26 MPH

9 MPH

Wednesday, Mar 31, 2021

Precip Condition
OIN Cloudy
OIN Cloudy

0.721N Light rain
0.21 1N Cloudy
OIN Partly sunny
OIN Clear

| called Synergy out to check the new module classroom (east) for no power. After troubleshooting,they found that the main breaker is
tripping because of RT-8, We turn off breaker to that unit and the main beaker did not trip. Eddie Burnside and Mr Jenkins (HCM was

informed

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HPA

‘OR

Employee Signature:

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EXHIBIT NO,

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CLERK: ___ NA SUMMERS __
FEB 24 2022

UNITED STATES DISTRICT COURT

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